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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                    )
SIERRA CLUB, et al.,                                )
                                                    )
                              Plaintiffs,           )
                                                    )
       v.                                           )       Civil Action No. 10-1513 (RBW)
                                                    )
KEN SALAZAR, et al.,                                )
                                                    )
                              Defendants.           )
                                                    )
                                                    )

                                              ORDER

       The Sierra Club, the Ohio Valley Environmental Coalition, the Friends of Blair

Mountain, Inc., the West Virginia Labor History Association, the National Trust for Historic

Preservation in the United States, and the West Virginia Highlands Conservancy, the plaintiffs in

this civil case, seek relief under the Administrative Procedure Act (“APA”), 5 U.S.C. §

706(2)(A) (2006), alleging that the following defendants violated the National Historic

Preservation Act (“NHPA”), 16 U.S.C. § 470a(a)(6) (2006), and the Code of Federal Regulations

(“C.F.R.”) Part 60, 36 C.F.R. § 60, by “removing the Blair Mountain Battlefield . . . from listing

in the National Register of Historic Places (‘National Register’)”: the Department of the Interior

(the “DOI”), Ken Salazar, in his official capacity as the Secretary of the DOI, Jon Jarvis, in his

official capacity as the Director of the National Park Service, and Carol Shull, in her official

capacity as the Keeper of the National Register of Historic Places. First Amended Complaint for

Declaratory and Injunctive Relief ¶¶ 1, 70.

       The plaintiffs have moved for summary judgment pursuant to Federal Rule of Civil

Procedure 56. Plaintiffs’ Motion for Summary Judgment (“Pls.’ Mot.”) at 1. The United Mine
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Workers of America (“UMWA”) then moved for leave to file a brief as amicus curiae in support

of the plaintiffs’ motion, asserting that it could provide a unique perspective on the

administrative proceedings relating to the nomination of Blair Mountain Battlefield

(“Battlefield”) as a listed property in the National Register and “the historic significance of the

nominated site and the importance of its preservation.” Unopposed Motion of the United Mine

Workers of America For Leave To File A Brief As Amicus Curiae In Support Of Plaintiffs’

Motion for Summary Judgment at 4. The Court granted the UMWA’s motion, and its brief was

accepted for filing.    The defendants thereafter filed a memorandum in opposition to the

plaintiffs’ motion for summary judgment, as well as their own cross-motion for summary

judgment.

        Currently before the Court is the West Virginia Coal Association Inc.’s (“WVCA”)

motion for leave to file a brief as amicus curiae in support of the defendants’ cross-motion for

summary judgment.        “The WVCA is a trade association that represents the companies

responsible for over 90 percent of West Virginia’s coal production.”             West Virginia Coal

Association Inc.’s Motion for Leave to File a Brief as Amicus Curiae in Support of Defendant’s

Brief in Opposition to Summary Judgment and Cross Motion for Summary Judgment (“WVCA’s

Mot.”) at 2. The WVCA posits that “any decision by this Court reviewing the de-listing decision

of the Keeper, will directly affect the WVCA and its members in this case, and in future . . .

NHPA . . . cases involving land in West Virginia that has pre-existing or future surface or

underground coal mining permits.” Id. Important to the resolution of the WVCA’s motion is the

assertion that it “has a strong interest in ensuring that non-profit groups, such as the [p]laintiffs in

this case, do not misuse the NHPA as a backdoor or improper means to promote their agenda.”

Id.   Specifically, the WVCA believes, based on information obtained in a petition by the



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plaintiffs to the West Virginia Department of Environmental Protection, “that the [p]laintiffs are

. . . attempting to use historical preservation law as part of a multi-pronged attack on West

Virginia coal interests and the WVCA’s members.” Id. The WVCA contends that it has unique

information regarding the plaintiffs’ standing to file their claim, as well as the timing of their

claim. Id. at 4. After carefully considering all the relevant submissions by the parties, 1 the Court

concludes for the following reasons that the WVCA’s motion should be granted.

       “District courts have inherent authority to appoint or deny amici, which is derived from

Rule 29 of the Federal Rules of Appellate Procedure.” Jin v. Ministry of State Sec., 557 F. Supp.

2d 131, 136 (D.D.C. 2008) (internal quotation marks omitted). However, there is “[n]o statute,

rule, or controlling case [that] defines a federal district court’s power to grant or deny leave to

file an amicus brief. See Sierra Club v. Fed. Emergency Mgmt. Agency, CIV.A. H-07-0608,

2007 WL 3472851, at *1 (S.D. Tex. Nov. 14, 2007) (internal quotation marks and citation

omitted). “[I]t is solely within the discretion of the Court to determine the fact, extent, and

manner of participation by the amicus.” Cobell v. Norton, 246 F. Supp. 2d 59, 62 (D.D.C.

2003) (internal quotation marks and citation omitted). Requests for leave to file amicus briefs

will generally be granted when “the information offered is timely and useful.” Ellsworth

Assocs., Inc. v. United States., 917 F. Supp. 841, 846 (D.D.C. 1996) (internal quotation marks

and citation omitted). Furthermore, amicus briefs are typically allowed when:

       . . . a party is not represented competently or is not represented at all, when the
       amicus has an interest in some other case that may be affected by the decision in

1
 The Court considered the following submissions, and their attached exhibits in resolving the
WVCA’s motion, the plaintiffs’ Opposition to the Motion for Leave to File an Amicus Curiae
Brief Filed by the West Virginia Coal Association (“Pls.’ Opp’n”), and the defendants’
Opposition to Plaintiffs’ Motion For Summary Judgment and Defendants’ Cross-Motion for
Summary Judgment (“Defs.’ Opp’n to Sum. J.”).



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       the present case (though not enough affected to entitle the amicus to intervene and
       become a party in the present case), or when the amicus has unique information or
       perspective that can help the court beyond the help that the lawyers for the parties
       are able to provide.

Ryan v. Commodity Futures Trading Comm’n, 125 F.3d 1062, 1063 (7th Cir. 1997).

       The WVCA does not challenge the competence of the defendants’ counsel, 2 nor does it

contend that it has an interest in another existing case that will be affected by the decision that

will be rendered in this case. See WVCA’s Mot. at 1-5. Rather, the WVCA asserts that it can

provide unique information regarding the mootness of the claim, and the plaintiffs’ standing to

bring it. See id. at 4. Although the defendants have raised the issue of standing in their cross-

motion for summary judgment, Defendants’ Opposition to Plaintiffs’ Motion for Summary

Judgment and Defendants’ Cross-Motion for Summary Judgment (“Defs.’ Opp’n to Sum. J.”) at

19-23, any additional information that the WVCA can provide on the issues of the plaintiffs’

standing or not yet submitted input concerning mootness will be helpful to the Court. In

particular, the WVCA posits that it has information about the number of “properly considered

landowners who object to” the listing of their property in the National Register “as a result of

subsequent efforts by the [p]laintiffs before the West Virginia State Historic Preservation

Office.” WVCA’s Mot. at 4. Because property with multiple private owners can only be listed

in the National Register if the majority of owners do not object to that listing, 16 U.S.C. §

470a(a)(6), the exact number of owners currently objecting to the listing of the Battlefield in the

National Register can help the Court determine whether the plaintiffs’ claim to restore the

Battlefield’s listing in the National Register has become moot.




2
  The Court notes that the “[d]efendants do not oppose th[e WVCA’s] motion.” WVCA’s Mot.
at 1.


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       Additionally, one of the plaintiffs’ positions is that their interests in “using, enjoying,

protecting, and appreciating the Blair Mountain Battlefield are threatened and adversely

affected” by its removal from the National Register because the Battlefield will be vulnerable to

mining activities. Pls.’ Mot. ¶ 7. They, therefore, request that the Court protect the Battlefield

by restoring its listing in the National Register.      Plaintiffs’ First Amended Complaint for

Declaratory and Injunctive Relief at 23. The defendants respond that the plaintiffs’ requested

relief may not necessarily protect the Battlefield because “surface coal mining may proceed,

despite a National Register listing, if the regulatory authority and the Federal, State, or local

agency with jurisdiction over the property jointly approve of the mining operation.” Defs.’

Opp’n to Sum. J. at 22 (citing the Surface Mining Control and Reclamation Act of 1977, 30

U.S.C. § 1272(e)(3) (2006)). The WVCA represents that it can inform the Court that such joint

approval does exist, in the form of its members’ pre-existing surface coal mining permits,

WVCA’s Mot. at 4, and this information about the permits will “likely” contribute to the Court’s

determination of whether the relief the plaintiffs seek will prevent the injury they assert.

       The plaintiffs oppose the WVCA’s motion for leave to file an amicus brief for two

reasons. First, they argue that the amicus brief will not be helpful to the Court. Plaintiffs’

Opposition to the Motion for Leave to File an Amicus Curiae Brief Filed by the West Virginia

Coal Association (“Pls.’ Opp’n”) at 6-10. As explained above however, the WVCA’s amicus

brief will possibly aid the Court in its resolution of the defendants’ opposition and cross-motion

for summary judgment. Second, the plaintiffs contend that the WVCA’s motion is untimely and

therefore prejudicial. Pls.’ Opp’n at 2-6. They note that the motion was not filed within seven

days after the defendants’ opposition and cross-motion for summary judgment were filed, as

required by Federal Rule of Appellate Procedure 29(e). Id. at 2-4. As noted above, a district



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court’s authority to grant leave to file an amicus brief is derived from Rule 29 of the Federal

Rules of Appellate Procedure, but is not directly governed by it. 3 And, because “[a]n amicus

curiae, defined as [a] friend of the court, . . . does not represent the parties but participates only

for the benefit of the Court[,] . . . it is solely within the discretion of the Court to determine the

fact, extent, and manner of participation by the amicus.” Cobell, 246 F. Supp. 2d at 62 (internal

quotation marks and citation omitted).       Although the plaintiffs correctly point out that the

WVCA could have made its request to file its amicus brief sooner, their claim of being

prejudiced by the timing of WVCA’s request is essentially eliminated by the Court’s willingness

to allow the plaintiffs to respond to the WVCA’s amicus brief. And, while some delay will be

occasioned by granting the WVCA’s motion and according the plaintiffs the opportunity to

respond to the WVCA’s amicus brief, such delay will be minimal. Moreover, any prejudice the

plaintiffs will suffer from the delay is offset by the value the WVCA’s contribution could have

on the resolution of this case. The Court therefore declines to preclude the WVCA from filing its

amicus brief.

        Accordingly, it is hereby

        ORDERED that the WVCA’s motion for leave to file its amicus brief is GRANTED and

the Clerk of the Court shall accept the amicus brief attached to the WVCA’s motion for filing as

of the date of this Order. It is further

        ORDERED that the plaintiffs shall have 15 days from the date of this Order to file a



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  Even if the Federal Rules of Appellate Procedure did govern this proceeding, the Court notes
that it need not deny a motion that is filed more than seven days after the filing of the principal
brief of the party being supported. See Fed. R. App. P. 29(e) (“A court may grant leave for later
filing, specifying the time within which an opposing party may answer.”). The plaintiffs’ time
for answering the WVCA’s amicus curiae brief is set forth below.



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response to the WVCA’s amicus brief.

      SO ORDERED this 1st day of February, 2012.



                                                   REGGIE B. WALTON
                                                   United States District Judge




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